                              UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF NORTH CAROLINA
                                    WESTERN DIVISION

STEWART ENGINEERING, INC.,                     )
                                               )
                          Plaintiff,           )
                                               )       JUDGMENT IN A CIVIL CASE
v.                                             )       CASE NO. 5:15-CV-377-D
                                               )
CONTINENTAL CASUALTY                           )
COMPANY; ZURICH AMERICAN                       )
INSURANCE COMPANY; SKANSKA                     )
USA BUILDING, INC.; and CLARK                  )
NEXSEN, INC.,                                  )
                                               )
                          Defendants.          )

Decision by Court.
IT IS ORDERED, ADJUDGED, AND DECREED that the court GRANTS defendant's motion
for summary judgment [D.E. 54], and DENIES plaintiff's motion for summary judgment [D.E.
61]. Defendant may file a motion for costs in accordance with the Federal Rules of Civil
Procedure and the court's local rules.
IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that on 11/16/2016, the court
granted Clark Nexsen's Motion to Dismiss or Drop Party [DE 45]. Clark Nexsen, Inc. is
DISMISSED WITHOUT PREDJUDICE from this action pursuant to Rule 21 of the Federal
Rules of Civil Procedure. In addition, on 1/31/2017, the court granted Zurich American Insurance
Company's Motion for Misjoinder [DE 48]. Zurich is DISMISSED WITHOUT PREDJUDICE
from this action pursuant to Rule 21 of the Federal Rules of Civil Procedure.


This Judgment Filed and Entered on March 20, 2018, and Copies To:
Rebecca Fay Rushton                                    (via CM/ECF electronic notification)
Stephen P. Safran                                      (via CM/ECF electronic notification)
Elizabeth Guild Simpson                        (via CM/ECF electronic notification)
Leland H. Jones, IV                                    (via CM/ECF electronic notification)
Richard A. Simpson                                     (via CM/ECF electronic notification)
Ashley E. Eiler                                        (via CM/ECF electronic notification)
L. Andrew Watson                                       (via CM/ECF electronic notification)
Theodore Nicholas Goanos                               (via CM/ECF electronic notification)
Rodney E. Pettey                               (via CM/ECF electronic notification)
Sean T. Patrick                                        (via CM/ECF electronic notification)
Robert A. Meynardie                                    (via CM/ECF electronic notification)




             Case 5:15-cv-00377-D Document 75 Filed 03/20/18 Page 1 of 2
DATE:                                     PETER A. MOORE, JR., CLERK
March 20, 2018                     (By) /s/ Nicole Briggeman
                                    Deputy Clerk




         Case 5:15-cv-00377-D Document 75 Filed 03/20/18 Page 2 of 2
